Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 1 of 24 Page ID #:167




  1
  2
  3
  4
  5
  6
  7
  8                        United States District Court
  9                        Central District of California
 10
 11   Aaron Knight,                                 Case CV 18-04597-ODW(MRWx)
 12                           Plaintiff,
                                                    SCHEDULING AND CASE
 13         v.                                      MANAGEMENT ORDER
 14   Sears Logistics Services et al.,              (JURY TRIAL)
 15                             Defendant
 16
                                                    FOR CASES ASSIGNED TO JUDGE
 17                                                 OTIS D. WRIGHT, II
 18         This Order is to advise the parties and counsel of the schedule that will govern

 19   this case.   THE SCHEDULING CONFERENCE IS VACATED.                            SEE THE

 20   LAST PAGE OF THIS ORDER FOR THE SPECIFIED DATES. Ordinarily, the

 21   dates set forth on the last page are determined after consultation with the parties at the

 22   Federal Rule of Civil Procedure 16(b) Scheduling Conference.             The dates and

 23   requirements are firm. The Court is unlikely to grant continuances, even if stipulated

 24   by the parties, unless the parties establish good cause through a concrete showing.

 25   ///

 26   ///

 27   ///

 28   ///
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 2 of 24 Page ID #:168




  1   IT IS HEREBY ORDERED:
  2         1.     To secure the just, speedy, and inexpensive determination of every
  3   action, all counsel are ordered to familiarize themselves with and follow the Federal
  4   Rules of Civil Procedure and the Local Rules of the Central District of California.
  5   This Court follows these rules and they will govern this litigation unless otherwise
  6   provided in this Order.
  7         2.     Because this Order in some respects modifies or adds to the Local Rules,
  8   counsel are advised to read it carefully.       Counsel are advised to pay particular
  9   attention to the requirements of the Court with respect to the filing of motions for
 10   summary judgment and documents to be submitted at the Final Pretrial Conference
 11   and Trial.
 12         3.     The attorney attending any proceeding before this court must be an
 13   attorney who is thoroughly knowledgeable about the case, responsible for the conduct
 14   of the litigation, and who has authority to enter into stipulations and to make
 15   admissions regarding all matters that the participants reasonably anticipate may be
 16   discussed.   Lead counsel who will actually try the case must attend the Pretrial
 17   Conference. A party who is not represented must attend all proceedings in person.
 18         4.     Courtesy Copies: Courtesy copies of all electronically filed documents
 19   are to be delivered to the courtesy box on the 4th Floor of the U.S. Courthouse, 350 W.
 20   1st Street by the following business day.
 21         Courtesy copies DO NOT need to be blue-backed. All courtesy copies of
 22   pretrial documents (e.g. witness lists, exhibit lists, pretrial conference orders,
 23   jury instructions, etc.) shall be three-hole punched.
 24         5.     Discovery Cut-Off: Percipient and expert discovery shall be completed
 25   by the discovery cut-off dates specified on the last page of this Order. THIS IS NOT
 26   THE DATE BY WHICH DISCOVERY REQUESTS MUST BE SERVED; IT IS
 27   THE DATE BY WHICH ALL DISCOVERY IS TO BE COMPLETED.
 28         Any motion challenging the adequacy of responses to discovery must be heard




                                                  2
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 3 of 24 Page ID #:169




  1   sufficiently in advance of the discovery cut-off date to permit the responses to be
  2   obtained before that date if the motion is granted. In an effort to provide further
  3   guidance to the parties, the Court notes the following:
  4                a.     Depositions: All depositions shall be scheduled to commence
  5   sufficiently in advance of the discovery cut-off date to permit their completion and to
  6   permit the deposing party enough time to bring any discovery motions concerning the
  7   deposition prior to the cut-off date.
  8                b.     Written Discovery: All interrogatories, requests for production of
  9   documents, and requests for admissions shall be served sufficiently in advance of the
 10   discovery cut-off date to permit the discovering party enough time to challenge (via
 11   motion practice) responses deemed to be deficient.
 12                c.     Discovery Motions: Whenever possible, the Court expects the
 13   parties to resolve discovery issues among themselves in a courteous, reasonable, and
 14   professional manner.      The Magistrate Judge assigned to this case will rule on
 15   discovery motions. (The Magistrate Judge’s initials follow the district judge's initials
 16   next to the case number on the first page of this Order.) Counsel are directed to
 17   contact the Magistrate Judge’s courtroom deputy clerk (CRD) to schedule a hearing
 18   on any discovery related matters. Counsel should not deliver courtesy copies of these
 19   discovery documents to this Court.
 20                d.     Expert Discovery: If expert witnesses are to be called at trial, the
 21   parties shall designate affirmative experts to be called at trial and provide reports
 22   required by Federal Rule of Civil Procedure 26(a)(2)(B) not later than eight weeks
 23   prior to the expert discovery cut-off date.       Rebuttal expert witnesses shall be
 24   designated and reports provided as required by Rule 26(a)(2)(B) not later than five
 25   weeks prior to the expert discovery cut-off date. Failure to timely comply with
 26   deadlines may result in the expert being excluded as a trial witness.
 27         6.     Motions and Motion Cut-Off Date
 28                a.     General Provisions:     All law and motion matters, except for




                                                  3
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 4 of 24 Page ID #:170




  1   motions in limine, must be set for hearing (not filed) by the motion cut-off date
  2   specified on the last page of this Order. This Court hears motions in civil matters on
  3   Mondays at 1:30 p.m. The parties must adhere to the requirements of the Local
  4   Rules. See Local Rules 7-1 et seq. If any party does not oppose a motion, that party
  5   shall submit a written statement that it does not oppose the motion in accordance with
  6   Local Rule 7-9. The parties should note that failure to meet the time limits for filing
  7   an opposition set forth in Local Rule 7-9 shall be deemed consent to the granting of
  8   the motion. See Local Rule 7-12.
  9         The title page of all motions must state the Pre-Trial Conference date and the
 10   Trial date. Counsel must comply with Local Rule 7-3, which requires counsel to
 11   engage in a pre-filing conference “to discuss thoroughly . . . the substance of the
 12   contemplated motion and any potential resolution.”
 13         Issues left undetermined after the passage of the motion cut-off date should be
 14   listed as issues for trial in the Final Pre-Trial Conference Order. As an exception to
 15   the above, motions in limine dealing with evidentiary matters may be heard pursuant
 16   to the schedule specified on the last page of this Order.
 17                b.      Meeting and Conferring: The Parties are required to meet and
 18   confer with opposing counsel prior to the filing of a motion or ex parte application
 19   under Local Rule 7-3. The Court notes that is the responsibility of both parties to
 20   meet and confer in good faith on any disputed issues.         The Court will impose
 21   sanctions, including monetary sanctions and/or the summary denial of a motion, if
 22   either party fails to meet and confer in good faith or fails to reasonably narrow the
 23   issues in dispute.
 24                c.      Ex Parte Applications: Ex parte practice is discouraged. See
 25   Mission Power Eng’g v Co. v. Continental Cas. Co., 883 F. Supp. 488 (C.D. Cal.
 26   1995). The Court will require strict adherence to proper ex parte procedures for any
 27   ex parte application filed with the Court. Id. at 492; see also Judge Wright’s Standing
 28   Order and Local Rule 7-19. Any opposition to an ex parte application must be




                                                  4
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 5 of 24 Page ID #:171




  1   filed within 24 hours. Failure to submit a timely opposition constitutes consent to the
  2   granting of the application. See Local Rule 7-12. No party may file a reply unless
  3   expressly authorized by the Court. All ex parte applications will be decided on the
  4   papers and without a hearing unless the Court orders otherwise.
  5                d.      Applications and Stipulations to Extend Time: Applications to
  6   extend the time to file any required document or to continue any hearing, Pre-Trial
  7   Conference, or Trial date must set forth the following:
  8                (i)     The existing due date or hearing date, as well as the discovery cut-
  9                        off date, the Pre-Trial Conference date, and the Trial date;
 10                (ii)    Specific, concrete reasons supporting good cause for granting the
 11                        extension; and
 12                (iii)   Whether there have been prior requests for extensions, and whether
 13                        these requests were granted or denied by the Court.
 14         The parties are cautioned that the Court will not necessarily grant an extension
 15   or continuance simply because all parties have stipulated to it.
 16                e.      Joinder of Parties and Amendment of Pleadings: The deadline
 17   for joining parties and amending pleadings is set forth on the last page of this Order.
 18   Any motions to join other parties or for leave to amend the pleadings shall be set for
 19   hearing on before this date. If any party moves to amend a pleading after this date,
 20   they must address the propriety of amendment under Johnson v. Mammoth
 21   Recreations, Inc., 975 F.2d 604 (9th Cir. 1992).
 22         In addition to the requirements of Local Rule 15-1, all motions to amend the
 23   pleadings shall: (1) state the effect of the amendment; (2) be serially numbered to
 24   differentiate the amendment from previous amendments; and (3) state the page, line
 25   number(s), and wording of any proposed change or addition of material. The parties
 26   shall deliver to Chambers a redlined version of the proposed amended pleading
 27   indicating all additions and deletions of material.
 28                f.      Summary Judgment Motions: Parties need not wait until the




                                                   5
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 6 of 24 Page ID #:172




  1   motion cutoff to bring motions for summary judgment or partial summary judgment.
  2   Early completion of non-expert discovery and filing of motions for summary
  3   judgment may eliminate or reduce the need for expensive expert depositions that are
  4   normally conducted in the last stages of discovery.    However, the Court requires
  5   that the party moving for summary judgment will provide no less than thirty-five
  6   (35) days’ notice for such motions. Because summary judgment motions are fact-
  7   dependent, parties should prepare papers in a fashion that will assist the Court in
  8   absorbing the mass of facts (e.g., generous use of tabs, tables of contents, headings,
  9   indices, etc.). The parties are to comply precisely with Local Rule 56-1 through 56-4.
 10   The Court will also require adherence to the following requirements:
 11                (i)   Statement of Uncontroverted Facts and Statement of Genuine
 12                      Issues of Material Fact
 13         The movant’s Separate Statement of Uncontroverted Facts is to be prepared in a
 14   two column format. The left-hand column should set forth the allegedly undisputed
 15   fact. The right-hand column should set forth the evidence that supports the factual
 16   statement.   The factual statements should be set forth in sequentially numbered
 17   paragraphs. Each paragraph should contain a narrowly focused statement of fact.
 18   Each numbered paragraph should address a single subject in as concise a manner as
 19   possible.
 20         The opposing party’s Statement of Genuine Issues of Material Fact must be in
 21   two columns and track the movant's Separate Statement exactly as prepared. The
 22   document must be in two columns; the left-hand column must restate the allegedly
 23   undisputed fact, and the right-hand column must indicate either undisputed or
 24   disputed. The opposing party may dispute all or only a portion of the statement, but if
 25   disputing only a portion, must clearly indicate what part is being disputed. Where the
 26   opposing party is disputing the fact in whole or part, the opposing party must, in the
 27   right-hand column, label and restate the moving party’s evidence in support of the
 28   fact, followed by the opposing party’s evidence controverting the fact. Where the




                                                   6
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 7 of 24 Page ID #:173




  1   opposing party is disputing the fact on the basis of an evidentiary objection, the party
  2   must cite the evidence alleged to be objectionable and state the ground of the
  3   objection and nothing more. No argument should be set forth in this document.
  4         The opposing party may submit additional material facts that bear on or relate
  5   to the issues raised by the movant, which shall follow the format described above for
  6   the moving party's Separate Statement.          These additional facts shall follow the
  7   movant's facts, shall continue in sequentially numbered paragraphs (i.e. if movant’s
  8   last statement of fact was set forth in paragraph 30, then the first new fact will be set
  9   forth in paragraph 31), and shall set forth in the right-hand column the evidence that
 10   supports that statement.
 11         The moving party, in its reply, shall respond to the additional facts in the same
 12   manner and format that the opposing party is required to adhere to in responding to
 13   the Statement of Uncontroverted Facts, as described above.
 14         The following conduct in connection with a motion for summary judgment
 15   shall be grounds for sanctions under Federal Rule of Civil Procedure 11: (1)
 16   disputing a material fact without any reasonable basis for doing so; (2)
 17   identifying additional facts in opposition to the motion without any reasonable
 18   basis for believing that the additional facts will materially affect the outcome of
 19   the motion.
 20                 (ii)   Supporting Evidence
 21         No party should submit any evidence other than the specific items of evidence
 22   or testimony necessary to support or controvert a proposed statement of undisputed
 23   fact. Thus, for example, the entire transcripts of depositions and/or entire sets of
 24   interrogatory responses should generally not be submitted in support of or in
 25   opposition to a motion for summary judgment.
 26         Evidence submitted in support of or in opposition to a motion for summary
 27   judgment should be submitted either by way of stipulation or as exhibits to a
 28   declaration sufficient to authenticate the proffered evidence, and should not be




                                                  7
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 8 of 24 Page ID #:174




  1   attached to the memorandum of points and authorities.              The Court will accept
  2   counsel’s authentication of deposition transcripts, written discovery responses, and the
  3   receipt of documents in discovery if the fact that the document was in the opponent's
  4   possession is of independent significance. Documentary evidence as to which there is
  5   no stipulation regarding foundation must be accompanied by the testimony, either by
  6   declaration or properly authenticated deposition transcript, of a witness who can
  7   establish its authenticity.
  8          All evidence in support of or in opposition to a motion for summary judgment,
  9   including declarations and exhibits to declarations, shall be separated by a tab divider
 10   on the bottom of the page. If evidence in support of or in opposition to a motion for
 11   summary judgment exceeds twenty pages, the evidence must be in a separately bound
 12   volume and include a Table of Contents. If the supporting evidence exceeds fifty
 13   pages, the documents shall be placed in a Slant D-Ring binder with each item of
 14   evidence separated by a tab divider on the right side. All documents contained in the
 15   binder should be three-hole-punched.
 16                 (iii)   Objections to Evidence
 17          If a party disputes a fact based in whole or in part on an evidentiary objection,
 18   the ground for the objection, as indicated above, should be stated in the Separate
 19   Statement, but not argued in that document.              Evidentiary objections should be
 20   addressed in a separate memorandum to be filed with the opposition or reply brief of
 21   the party. This memorandum should be organized to track the paragraph numbers
 22   of the Separate Statement in sequence. It should identify the specific item of
 23   evidence to which objection is made, the ground for the objection, and a very brief
 24   argument with citation to authority as to why the objection is well taken.           The
 25   following is an example of the format contemplated by the Court:
 26          Separate Statement Paragraph 1:             Objection to the supporting deposition
 27   transcript of Jane Smith at 60:1-10 on the grounds that the statement constitutes
 28   inadmissible hearsay and no exception is applicable. To the extent it is offered to




                                                     8
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 9 of 24 Page ID #:175




  1   prove her state of mind, it is irrelevant since her state of mind is not in issue. Fed. R.
  2   Evid. 801, 802.
  3         DO NOT SUBMIT BLANKET OR BOILERPLATE OBJECTIONS TO
  4   THE OPPONENT’S STATEMENTS OF UNDISPUTED FACT. THESE WILL
  5   BE DISREGARDED AND OVERRULED.
  6                (iv)    Memorandum of Points and Authorities
  7         The movant’s memorandum of points and authorities should be in the usual
  8   form required under Local Rule 7 and should contain a narrative statement of facts as
  9   to those aspects of the case that are before the Court. All facts should be supported
 10   with citations to the paragraph number in the Separate Statement that supports the
 11   factual assertion.
 12         Unless the case involves some unusual twist, the motion need only contain a
 13   brief statement of the Federal Rule of Civil Procedure 56 standard; the Court is
 14   familiar with the Rule and with its interpretation under Celotex and its progeny. If at
 15   all possible, the argument should be organized to focus on the pertinent elements of
 16   the claim(s) for relief or defense(s) in issue, with the purpose of showing the existence
 17   or non-existence of a genuine issue of material fact for trial on that element of the
 18   claim or defense.
 19         Likewise, the opposition memorandum of points and authorities should be in
 20   the usual form required by Local Rule 7. Where the opposition memorandum sets
 21   forth facts, the memorandum should cite to paragraphs in the Separate Statement if
 22   they are not in dispute, to the evidence that contravenes the fact where the fact is in
 23   dispute, or, if the fact is contravened by an additional fact in the Statement of Genuine
 24   Issues of Material Fact, the citation should be to such fact by paragraph number.
 25                g.      Avoid Composite Motions: Unless clearly justified under the
 26   circumstances of the case, “motions to dismiss or in the alternative for summary
 27   adjudication” are discouraged. These composite motions tend to blur the distinctions
 28   between the two motions.




                                                  9
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 10 of 24 Page ID #:176




   1                  h.   Motions in Limine: Before filing any motion in limine, counsel
   2   for the parties shall confer pursuant to Local Rule 7-3 in a good faith effort to
   3   eliminate the necessity for hearing the motion in limine or to eliminate as many of the
   4   disputes as possible. It shall be the responsibility of counsel for the moving party to
   5   arrange for this conference. The motion papers must include a declaration showing a
   6   good faith meet and confer effort. The conference shall take place in person within
   7   10 calendar days of service upon opposing counsel of a letter requesting such a
   8   conference, but in no event later than twenty-one days before the Pre-Trial
   9   Conference. The conference may take place by telephone only if both counsel are not
  10   located in the same county in the Central District.
  11         If counsel are unable to resolve their differences, they shall prepare a separate,
  12   sequentially-numbered Motion in Limine for each issue in dispute which contains a
  13   clear caption that identifies the moving party and the nature of the dispute (i.e.,
  14   “Plaintiff's Motion in Limine #1 to exclude the testimony of Defendant's expert”).
  15   Neither party may file more than five (5) Motions in Limine absent leave of
  16   Court upon a showing of good cause, and leave of Court will be granted
  17   sparingly.     Each Motion in Limine shall contain a clear identification of the
  18   testimony, exhibits, or other specific matters alleged to be inadmissible and/or
  19   prejudicial and a statement of the specific prejudice that will be suffered by the
  20   moving party if the motion is not granted. The identification of the matters in dispute
  21   shall be followed by the moving party's contentions and memorandum of points and
  22   authorities.    The title page of the Motion in Limine must state the Pre-Trial
  23   Conference date, hearing date for the motions in limine, and the trial date.
  24         Motions in Limine made for the purpose of precluding the mention or display of
  25   inadmissible and/or prejudicial matter in the presence of the jury shall be accompanied
  26   by a declaration that includes the following: (1) a clear identification of the specific
  27   matter alleged to be inadmissible and/or prejudicial; (2) a representation to the Court
  28   that the subject of the motion in limine has been discussed with opposing counsel, and




                                                  10
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 11 of 24 Page ID #:177




   1   that opposing counsel has either indicated that such matter will be mentioned or
   2   displayed in the presence of the jury before it is admitted in evidence or that counsel
   3   has refused to stipulate that such matter will not be mentioned or displayed in the
   4   presence of the jury unless and until it is admitted in evidence; and (3) a statement of
   5   the specific prejudice that will be suffered by the moving party if the motion in limine
   6   is not granted. A motion to bifurcate trial may be filed as a motion in limine.
   7         All evidence in support of or in opposition to a motion in limine, including
   8   declarations and exhibits to declarations, shall be separated by a tab divider on the
   9   bottom of the page. If evidence in support of or in opposition to a motion in limine
  10   exceeds twenty pages, the evidence must be in a separately bound volume and include
  11   a Table of Contents. Though strongly discouraged, if by necessity the supporting
  12   evidence exceeds fifty pages, the documents shall be placed in a Slant D-Ring binder
  13   with each item of evidence separated by a tab divider on the right side.            All
  14   documents contained in the binder should be three-hole-punched.
  15         Unless otherwise ordered by the Court, motions in limine will be heard on the
  16   date specified on the last page of this Order. The moving party shall file with the
  17   Court and serve its Motion in Limine on the responding party on or before the date for
  18   filing of motions in limine indicated in the Schedule of Trial and Pre-trial Dates. The
  19   responding party shall then file with the Court and serve an opposition to the Motion
  20   in Limine on the moving party at least seven (7) days prior to the date for the hearing
  21   on motions in limine. Neither party’s submissions with respect to a Motion in
  22   Limine shall exceed eight (8) pages. Unless ordered otherwise, the Court will
  23   only consider the moving papers and any opposition thereto; no replies are
  24   necessary or invited.
  25                i.    Motions for Class Certification: All motions for class
  26   certification must be filed according to Local Rule 23-3. The Court will rarely grant
  27   stipulations or applications to extend that deadline.      Specifically, the failure to
  28   complete class discovery before the deadline does not constitute good cause to extend




                                                  11
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 12 of 24 Page ID #:178




   1   the deadline, unless the parties show specific and concrete reasons why, despite their
   2   diligence, the failure to complete discovery was unavoidable.           The Court will
   3   consider extensions based on the ordering of issues (e.g., if the defendant seeks to file
   4   a dispositive motion before class certification) on a case-by-case basis.           Any
   5   stipulations or applications for relief must include a specific date by which the
   6   plaintiff will move for class certification (the Court will not grant an open-ended
   7   extension).
   8                  j.      Oral Argument: The Court, in its discretion, may dispense with
   9   oral argument on a motion. Fed. R. Civ. P. 78(b); C.D. Cal. L.R. 7-15. However, the
  10   Court also encourages law firms to contribute to the professional development of new
  11   attorneys by allowing them to present oral argument to the Court on motions. To that
  12   end, if any party to a motion files a notice with the Court stating that an attorney with
  13   less than four years’ experience will present oral argument, the Court will hold a
  14   hearing on that motion. This notice must be filed no later than fourteen days before
  15   the hearing.        The Court will take into account the attorney’s inexperience when
  16   considering their oral arguments.
  17         7.       Final Pre-Trial Conferences and Local Rule 16 Filings
  18         Please read this portion carefully, as there are some differences between the
  19   Court’s requirements and the Local Rules.
  20                  a.      General Provisions
  21         The Final Pre-Trial Conference (“PTC”) will be held on the date specified on
  22   the last page of this Order, unless the Court expressly waived the PTC at the
  23   Scheduling Conference. (In the rare cases where the Court waives a PTC, the parties
  24   must follow Local Rule 16-10.)              If adjustments in the Court’s calendar to
  25   accommodate congestion become necessary, the Court may re-schedule the PTC
  26   instead of the trial date. Therefore, the parties should assume that if the PTC goes
  27   forward, the trial will go forward without continuance, although some brief period of
  28   trailing may prove necessary.




                                                     12
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 13 of 24 Page ID #:179




   1         The lead trial attorney on behalf of each party shall attend both the PTC and all
   2   meetings of the parties in preparation for the PTC, unless excused for good cause
   3   shown in advance of the PTC.
   4         A continuance of the PTC at the parties' request or by stipulation is highly
   5   unlikely.   Specifically, failure to complete discovery is not a ground for
   6   continuance. In the unlikely event that the Court agrees to continue the PTC, the trial
   7   date is likely to be delayed as a result. If a change to the trial date is necessitated or
   8   likely because of the Court's calendar or otherwise, modifications of that date will be
   9   discussed at the PTC.
  10         At the PTC, the parties should be prepared to discuss means of streamlining the
  11   trial, including, but not limited to the following: bifurcation; presentation of
  12   foundational and non-critical testimony and direct testimony by deposition excerpts;
  13   narrative summaries and/or stipulations as to the content of testimony; presentation of
  14   testimony on direct examination by affidavit or by declaration subject to cross-
  15   examination; and qualification of experts by admitted resumes. The Court will also
  16   discuss settlement.
  17                b.       Courtesy Copies
  18         As with other documents filed with the Court, the parties must submit courtesy
  19   copies of all PTC documents. However, the courtesy copies must be delivered to
  20   chambers as follows:
  21                (i)      One copy of all PTC documents (i.e., both plaintiff's documents
  22                         and defendant's documents) shall be delivered to the Court in one
  23                         3-ring binder;
  24                (ii)     Each document shall be separated by numerical side-tabs, and shall
  25                         be placed in the following order: (1) Proposed Pretrial Conference
  26                         Order; (2) Plaintiff’s Memorandum and Contentions of Facts and
  27                         Law; (3) Defendant’s Memorandum and Contentions of Facts and
  28                         Law; (4) Joint Witness List; (5) Joint Exhibit List and Stipulation;




                                                    13
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 14 of 24 Page ID #:180




   1                       (6) Plaintiff’s Proposed Verdict Form; (8) Defendant’s Proposed
   2                       Verdict Form; (10) Joint Proposed Jury Instructions; (9) Plaintiff's
   3                       Disputed Jury Instructions; (10) Defendant’s Disputed Jury
   4                       Instructions; (11) Joint Statement of the Case; (12) Proposed Voir
   5                       Dire Questions; (13) Joint Report re: Settlement; and (14) Other
   6                       pretrial documents; and
   7               (iii)   The binder shall include a table of contents.
   8               c.      Final Pre-Trial Conference Order (“PTCO”)
   9         The proposed PTCO shall be lodged seven calendar days before the PTC,
  10   unless the Court specifically orders otherwise. Adherence to this time requirement is
  11   necessary for in-chambers preparation of the matter. The form of the proposed PTCO
  12   shall comply with Appendix A to the Local Rules and the following:
  13               (i)     Place in “ALL CAPS AND BOLD” the separately numbered
  14                       headings for each category in the PTCO (e.g., “1.             THE
  15                       PARTIES” or “7. CLAIMS AND DEFENSES OF THE
  16                       PARTIES”).
  17               (ii)    Include a table of contents at the beginning.
  18               (iii)   In specifying the surviving pleadings under section 1, state which
  19                       claims or counter claims have been dismissed or abandoned, e.g.,
  20                       “Plaintiff’s second cause of action for breach of fiduciary duty has
  21                       been dismissed.”    Also, in multiple party cases where not all
  22                       claims or counterclaims will be prosecuted against all remaining
  23                       parties on the opposing side, please specify to which party each
  24                       claim or counterclaim is directed.
  25               (iv)    In specifying the parties’ claims and defenses under section 7, each
  26                       party shall closely follow the examples set forth in Appendix A of
  27                       the Local Rules.
  28               (v)     In drafting the PTCO, the court expects that the parties will




                                                  14
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 15 of 24 Page ID #:181




   1                    attempt to agree on and set forth as many non-contested facts
   2                    as possible. The court will usually read the uncontested facts to
   3                    the jury at the start of trial.              A carefully drafted and
   4                    comprehensively stated stipulation of facts will reduce the length
   5                    of trial and increase jury understanding of the case.            It is
   6                    unacceptable for the parties to indicate in the Proposed
   7                    Pretrial Conference Order that they are not able to stipulate to
   8                    any facts whatever.
   9             (vi)   In drafting the factual issues in dispute for the PTCO, the parties
  10                    should attempt to state issues in ultimate fact form, not in the form
  11                    of evidentiary fact issues. The issues of fact should track the
  12                    elements of a claim or defense on which the jury will be required
  13                    to make findings.
  14             (vii) Issues of law should state legal issues on which the court will be
  15                    required to rule during the trial, and should not list ultimate fact
  16                    issues to be submitted to the trier of fact.
  17             (viii) The Court may submit fact issues to the jury in the form of
  18                    findings on a special verdict. The issues of fact should track the
  19                    elements of a claim or defense on which the jury will be required
  20                    to make findings.
  21             (ix)   If expert witnesses are to be called at trial, each party must list and
  22                    identify its respective expert witnesses, both retained and non-
  23                    retained. Failure of a party to list and identify an expert witness in
  24                    the PTCO could result in a court order which precludes the party
  25                    from calling that expert witness at trial.
  26             (x)    The parties shall submit only ONE proposed PTCO.                 It is
  27                    unacceptable to submit multiple or competing proposed
  28                    PTCOs. See Local Rule 16-7.




                                                 15
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 16 of 24 Page ID #:182




   1                d.     Rule 16 Filings; Memoranda; Witness Lists; Exhibit Lists
   2         Unless otherwise indicated, the parties must comply fully with the requirements
   3   of Local Rule 16. See the last page of this Order for applicable dates.
   4         Memoranda and Contentions of Fact and Law
   5         Memoranda of Contentions of Fact and Law shall be filed by the date listed in
   6   this Scheduling Order, and shall comply with the requirements set forth in Local Rule
   7   16-4. The parties are strongly encouraged to submit one joint Memorandum where
   8   possible.
   9         Joint Witness List
  10         Counsel shall prepare a joint list of their witnesses, including a brief summary
  11   (two to three paragraphs) of each witness’s expected testimony, what makes the
  12   testimony unique from any other witness testimony, an estimate of the length of time
  13   needed for direct examination of each side’s own witnesses and an estimate for the
  14   cross examination of opposing witnesses, and whether the witness will testify by
  15   deposition or in person. The joint witness list shall be filed at the same time counsel
  16   lodge the PTCO. If a party intends to offer deposition testimony into evidence at trial,
  17   the party shall designate the relevant portions of the deposition testimony to be read at
  18   trial and advise opposing counsel of same. Opposing counsel shall then designate any
  19   additional portions of such deposition testimony which counsel intends to offer in
  20   evidence. All objections to any such testimony shall be made in writing and filed at
  21   the same time counsel lodge the PTCO so that the Court may consider whether ruling
  22   on the objections will facilitate trial or result in the disposition of evidentiary matters
  23   that may assist continuing settlement negotiations.
  24         If expert witnesses are to be called at trial, each party shall list and identify their
  25   respective expert witnesses. Failure of a party to list and identify an expert witness
  26   may preclude a party from calling that expert witness at trial. If expert witnesses are
  27   to be called at trial, the parties shall exchange at the PTC short narrative statements of
  28   the qualifications of the expert and the testimony expected to be elicited at trial.




                                                    16
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 17 of 24 Page ID #:183




   1   Previously prepared and exchanged expert reports shall not substitute for the narrative
   2   statements required.
   3         On the first day of trial, the parties must lodge with the Court three (3)
   4   copies of the witness list, which shall include the names of the witness in the
   5   approximate order in which they may be called to testify.
   6         Joint Exhibit List and Exhibit Stipulation
   7         The parties shall prepare a joint Pre-Trial Exhibit Stipulation that shall contain
   8   each party's numbered list of all trial exhibits, with objections, if any, to each exhibit
   9   including the basis of the objection and the offering party's response. All exhibits to
  10   which there is no objection shall be deemed admitted. The parties shall stipulate to
  11   the authenticity of exhibits whenever possible, and the Pre-Trial Exhibit Stipulation
  12   shall identify any exhibits for which authenticity has not been stipulated to and the
  13   specific reasons for the party's failure to stipulate.
  14         The Stipulation shall be substantially in the following form:
  15
  16                                 Pre-Trial Exhibit Stipulation
  17   Plaintiff(s)’/Defendant(s)’ Exhibits
  18   Number       Description       If Objection, State Grounds      Response to Objection
  19
  20         The Pre-Trial Exhibit Stipulation shall be filed at the same time counsel lodge
  21   the proposed PTCO. Failure to comply with this paragraph could be deemed to
  22   constitute a waiver of all objections. Do not submit blanket or boilerplate objections
  23   to the opposing party’s exhibits. These will be disregarded and overruled. NOTE:
  24   Counsel are instructed not to bring excessive exhibits to trial, but only those exhibits
  25   that are reasonably expected to actually be used.
  26         All counsel are to meet not later than ten (10) days before trial and to stipulate
  27   so far as is possible as to authenticity, foundation, waiver of the best evidence rule,
  28   and to those exhibits which may be received into evidence at the start of trial. The




                                                     17
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 18 of 24 Page ID #:184




   1   exhibits to be so received will be noted on the copies of the exhibit lists.
   2         In addition, the parties should submit three copies of the final exhibit list to
   3   the Court Clerk on the first day of trial.
   4         Jury Instructions/Special Verdict Forms
   5         The parties shall make every attempt to agree upon the jury instructions before
   6   submitting them to the Court.        It is expected that counsel will agree on the
   7   substantial majority of jury instructions.         This is in addition to the standard
   8   cautionary and introductory instructions regarding duties of the jury, the order of the
   9   trial, etc. found in Chapters 1, 2 & 3 of the 9th Circuit Manual of Model Jury
  10   Instructions. The court requires little or no assistance in the preparation of these
  11   instructions. Counsel's attention should be focused on reaching agreement on the
  12   instructions covering the substantive legal issues.       It is anticipated that working
  13   diligently and cooperatively counsel will be able to reach agreement on the vast
  14   majority of the substantive instructions. Judicial involvement will be limited to
  15   resolving disputes on only a few instructions on which the parties are unable to
  16   agree.
  17         On the date listed in this Scheduling Order, counsel shall file with the Court a
  18   JOINT set of jury instructions on which there is agreement. Defendant’s counsel has
  19   the burden of preparing the joint set of jury instructions. At the same time, each party
  20   shall file its proposed jury instructions which are objected to by any other party,
  21   accompanied by points and authorities in support of those instructions.
  22         When the parties disagree on an instruction, the party opposing the instruction
  23   must attach a short statement (one to two paragraphs) supporting the objection, and
  24   the party submitting the instruction must attach a short reply supporting the
  25   instruction. Each statement should be on a separate page and should follow directly
  26   after the disputed instruction.
  27         The parties ultimately must submit one document, or if the parties disagree over
  28   any proposed jury instructions, three documents. The three documents shall consist




                                                    18
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 19 of 24 Page ID #:185




   1   of: (1) a set of Joint Proposed Jury Instructions; (2) Plaintiff’s Disputed Jury
   2   Instructions; and (3) Defendant’s Disputed Jury Instructions.         Any disputed Jury
   3   Instructions shall include the reasons supporting and opposing each disputed
   4   instruction in the format set forth in the previous paragraph.
   5         The parties are encouraged to consider whether the Court should give
   6   preliminary instructions to the jury on the substantive issues they will be called
   7   upon to decide. Should the parties elect to give preliminary instructions, those
   8   substantive instructions should be produced to the Court on the first day of trial.
   9         The Court directs counsel to use the instructions from the Manual of Model
  10   Jury Instructions for the Ninth Circuit where applicable. Where California law is to
  11   be applied and the above instructions are not applicable, the Court prefers counsel to
  12   use the California Jury Instructions in CACI. If none of these sources is applicable,
  13   counsel are directed to use the instructions in Devitt, Blackmar and Wolff, Federal
  14   Jury Practice and Instructions. Modifications of instructions from the foregoing
  15   sources (or any other form instructions) must specifically state the modification made
  16   to the original form instruction and the authority supporting the modification. The
  17   Court will consider special jury instructions not derived from these sources only
  18   in exceptional circumstances.
  19         Each requested instruction shall be in the format specified by Local Rule 51-2
  20   and shall be set forth in full; be on a separate page with the caption "COURT’S
  21   INSTRUCTION NUMBER ___”; be numbered; cover only one subject or principle of
  22   law; not repeat principles of law contained in any other requested instructions; and
  23   cite the authority for a source of the requested instruction.          In addition to the
  24   foregoing, each party shall file with the Courtroom Deputy Clerk (CRD) on the first
  25   day of trial a “clean set” of the aforesaid requested duplicate jury instructions. The
  26   “clean set” shall not cite the authority for a source of the requested instruction.
  27         An index page shall accompany all jury instructions submitted to the Court.
  28   The index page shall indicate the following:




                                                   19
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 20 of 24 Page ID #:186




   1              the number of the instruction;
   2              a brief title of the instruction;
   3              the source of the instruction and any relevant case citation; and
   4              the page number of the instruction.
   5
   6   EXAMPLE:
   7   NO.          TITLE                                         SOURCE             PAGE NO.
   8   5            Evidence for Limited Purpose                  9th Cir. 1.5       9
   9
  10         During the trial and again before argument, the Court will meet with counsel
  11   and settle the instructions. Strict adherence to time requirements is necessary for the
  12   Court to examine the submissions in advance so that there will be no delay in starting
  13   the jury trial, or the final instructions to the jury and the closing arguments of counsel.
  14   Failure of counsel to strictly follow the provisions of this section may subject the
  15   non-complying      party    and/or     its      attorney     to   sanctions   and   SHALL
  16   CONSTITUTE A WAIVER OF JURY TRIAL in all civil cases.
  17         Joint Statement of the Case and Requests for Voir Dire
  18         At the PTC, the parties shall file their proposed voir dire questions and their
  19   joint Statement of the Case which the Court will read to all prospective jurors prior to
  20   the commencement of voir dire. The statement should not be longer than two or three
  21   paragraphs, and contain no argument nor an excessive amount of information. The
  22   Statement of the Case is merely to advise the prospective jurors of the general nature
  23   of the case, i.e. securities law violations, bank robbery, copyright infringement, etc.
  24         The Court conducts voir dire of all prospective jurors. The parties need not
  25   submit requests for standard voir dire questions such as education, current
  26   occupations, marital status, prior jury service, etc., but should include only proposed
  27   questions specifically tailored to the parties and issues of the case.
  28         Trial Exhibits




                                                       20
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 21 of 24 Page ID #:187




   1         Counsel must deliver two sets of exhibits to the Court Clerk (one for witnesses
   2   and one for the Judge) on the morning of the first day of trial as follows:
   3                (i)     Judge’s Copy: Counsel are to prepare the Judge’s copy of the
   4                        exhibits by placing them in 3-ring binders. The holes are to be
   5                        3/8" in diameter. The notebooks are to be tabbed down the right
   6                        side with numeric tabs separating each exhibit.
   7                (ii)    Witnesses’ Copy: Counsel are to prepare the Witnesses’ copy of
   8                        the exhibits by placing each exhibit in its own separate manilla
   9                        folder. Each manilla folder should have a tab on the right side with
  10                        the exhibit number written on it. The manilla folders should be put
  11                        in a box in numerical order, with the tabs facing upward. The
  12                        exhibits used in this folder should be the original exhibits, and
  13                        should be tagged with Court-approved tags.          Court-approved
  14                        exhibit tags can be obtained from the window on the 4th Floor of
  15                        the U.S Courthouse, Los Angeles, CA 90012.
  16         The exhibits are to be numbered sequentially, with Plaintiff’s exhibits
  17   numbered 1, 2, 3, etc. and Defendant’s exhibits numbered 1000, 1001, 1002, etc.
  18   Exhibit numbering must further comply with Local Rule 26-3.
  19         Deposition Transcripts
  20         The complete original transcript of any depositions to be used at trial shall be
  21   lodged with the Court on the first day of trial.
  22         First Day of Trial
  23         The Court requires that the following be submitted to the Courtroom Deputy
  24   Clerk on the first day of trial (which is in addition to any other documents
  25   referenced above):
  26                (i)     Judge’s copy of exhibits (as described above).
  27                (ii)    Witnesses’ copy of exhibits (as described above).
  28                (iii)   Any preliminary instructions the parties have agreed may be read




                                                   21
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 22 of 24 Page ID #:188




   1                       to the jury before the presentation of evidence.
   2                (iv)   Three (3) copies of the exhibit list.
   3                (v)    Three (3) copies of the witness list, which shall include the names
   4                       of the witness in the approximate order in which they may be
   5                       called to testify.
   6         All counsel are to meet not later than ten (10) days before trial and to stipulate
   7   so far as possible as to foundation, waiver of the best evidence rule, and to those
   8   exhibits which may be received into evidence at the start of trial. The exhibits so
   9   received will be noted on the copies of the exhibit lists.
  10         Any items that have not been admitted into evidence and are left in the
  11   courtroom overnight without prior approval will be discarded.
  12         Real-Time Reporting Requirement
  13         Each party must file with the Court, at the same time counsel lodges the PTCO,
  14   a document for the Court Reporter that contains proper names, unusual or scientific
  15   terms, or any other foreign or uncommon words that are likely to be used by the
  16   parties during the PTC and the Trial.
  17         8.     Settlement
  18         This Court will not conduct settlement conferences in non-jury cases unless
  19   counsel for all parties and their respective clients agree either in writing or on the
  20   record. In jury cases, the Court will conduct a settlement conference at the parties’
  21   joint request if three conditions exist:
  22                (a)    The parties are satisfied that the fact issues in the case will be tried
  23                       by a jury;
  24                (b)    All significant pre-trial rulings which the Court must make have
  25                       been made; and
  26                (c)    The parties desire the Court to conduct the conference,
  27                       understanding that if settlement fails, the Court will preside over
  28                       trial of the case.




                                                   22
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 23 of 24 Page ID #:189




   1         The parties must file a Status Report regarding settlement at the time they lodge
   2   the proposed PTCO. This Report shall not disclose the parties' settlement positions,
   3   i.e. the terms of any offers or demands. It shall merely describe the efforts made by
   4   the parties to resolve the dispute informally, i.e. the occasions and dates when the
   5   parties participated in mediation or settlement conferences. The Status Report shall
   6   also include the name and phone number of the Settlement Officer who assisted the
   7   parties with their settlement conference.
   8         Caveat: If counsel fail to file the required Pre-Trial documents or fail to
   9   appear at the Pre-Trial Conference and such failure is not otherwise
  10   satisfactorily explained to the Court: (a) the cause shall stand dismissed for
  11   failure to prosecute if such failure occurs on the part of the plaintiff; (b) default
  12   judgment shall be entered if such failure occurs on the part of the defendant; or
  13   (c) the Court may take such action as it deems appropriate.
  14
  15         IT IS SO ORDERED.
  16
  17
  18
  19         August 14, 2018           ____________________________________
  20                                         OTIS D. WRIGHT, II
                                      UNITED STATES DISTRICT JUDGE
  21
  22
  23
  24
  25
  26
  27
  28




                                                   23
Case 2:18-cv-04597-ODW-MRW Document 16 Filed 08/14/18 Page 24 of 24 Page ID #:190
                                     U.S. District Judge Otis D. Wright, II
                                     Schedule of Trial and Pretrial Dates

         CASE NO.:                     CV       18-4597




         PARTIES:                           Arron Knight
                                                  -v-
                                            Sears Logistics Services, et al.

         COMPLAINT FILED:                       03/22/18

         Estimated Length of Trial:              7 days

         TRIAL TYPE:                              Jury

         SETTLEMENT CHOICE:
         Magistrate Judge
         Attorney Settlement Panel
         Outside ADR
         Judicial Settlement Panel

             DATE                              MATTER

            10/08/19                        Trial at 9:00 a.m.

            10/03/19                        Deadline to File:
                                            Final Trial Exhibit Stipulation

            09/30/19                        Hearing on Motions in Limine at 1:30 p.m.

            09/23/19                        Deadline to File:
                                            Oppositions to Motions in Limine

            09/16/19                        Final Pretrial Conference at 1:30 p.m.
                                            Deadline to File:
                                            Motions in Limine

            09/09/19                        Deadline to File:
                                            Proposed Pretrial Conference Order
                                            Memoranda and Contentions of Fact and Law
                                            Joint Witness List
                                            Joint Exhibit List and Exhibit Stipulation
                                            Proposed Verdict Form(s)
                                            Proposed Jury Instructions / Disputed Jury Instructions
                                            Proposed Voir Dire Questions
                                            Joint Statement of the Case
                                            Joint Status Report re: Settlement

            08/19/19                        Deadline for Hearing Motions*

            08/12/19                        Deadline to Conduct Settlement Conference

            07/08/19                        Expert Discovery Cutoff

            06/24/19                        Percipient/Fact Discovery Cutoff

            11/12/18                        Deadline to Hear Motion to Amend Pleadings or Add Parties
                                            (must comply with FRCP 15(a)(2))
                        * This does not apply to motions for class certification, which must be filed
                        in accordance with Local Rule 23-3 unless expressly waived by Court order.
